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                                  #: 5205




                              Exhibit E
                 Case 1:22-md-03044-NGG-MMH                                       Document 376-16                Filed 07/28/23                 Page 2 of 2 PageID
                                                                                       #: 5206                                                                            DATE (MM/DD/YYYY)
                                               CERTIFICATE OF LIABILITY INSURANCE                                                                                              3/31/2020
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to
  the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
  certificate holder in lieu of such endorsement(s).
                                                                                                  CONTACT
PRODUCER
                                                                                                  NAME:      Pat Tanner
Harden and Associates                                                                             PHONE                                                     FAX
501 Riverside Avenue, Suite 1000                                                                  (A/C, No, Ext): 904-421-5369                              (A/C, No):
                                                                                                  E-MAIL
Jacksonville FL 32202                                                                             ADDRESS: ptanner@hardeninsight.com
                                                                                                                       INSURER(S) AFFORDING COVERAGE                                    NAIC #

                                                                                                  INSURER A : Noetic Specialty
                                                                                        EXACT-1
INSURED                                                                                           INSURER B : Chubb c/o TIC/CSSC
Osteon Intermediate Holdings II, Inc. LP
                                                                                                  INSURER C : Travelers Casualty and Surety                                             19038
Exactech, Inc.
Jody Phillips                                                                                     INSURER D : Chubb Custom Ins. Co                                                      38989
2320 NW 66th Court                                                                                INSURER E : Phoenix Insurance Company                                                 25623
Gainesville FL 32653
                                                                                                  INSURER F : Great Northern Insurance Co                                               20303
COVERAGES                                              CERTIFICATE NUMBER: 73016655                                                     REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                                         ADDL SUBR                                    POLICY EFF   POLICY EXP
 LTR                      TYPE OF INSURANCE                  INSR WVD           POLICY NUMBER            (MM/DD/YYYY) (MM/DD/YYYY)                               LIMITS
 D       GENERAL LIABILITY                                     Y       36051232                            3/31/2020        3/31/2021   EACH OCCURRENCE                  $ 10,000,000
       f------
                                                                                                                                        DAMAGE TO RENTED
                 COMMERCIAL GENERAL LIABILITY                                                                                           PREMISES (Ea occurrence)         $

                 D
       f------




                                       □
                 X   CLAIMS-MADE               OCCUR                                                                                    MED EXP (Any one person)         $
         X
       f------
                 Products Liab                                                                                                          PERSONAL & ADV INJURY            $
         X       SIR $250,000                                                                                                           GENERAL AGGREGATE                $
       f------


                                                                                                                                                                         $ 10,000,000


 F
       n GEN'L AGGREGATE LIMIT APPLIES PER:
             POLICY       n
                        PRO-
                        JECT
         AUTOMOBILE LIABILITY
                                      LOC  n
                                                                       73551882                            3/31/2020        3/31/2021
                                                                                                                                        PRODUCTS - COMP/OP AGG


                                                                                                                                        COMBINED SINGLE LIMIT
                                                                                                                                                                         $

       f------                                                                                                                          (Ea accident)                    $ 1,000,000
         X       ANY AUTO                                                                                                               BODILY INJURY (Per person)       $
       f------                   ~

                 ALL OWNED                 SCHEDULED                                                                                    BODILY INJURY (Per accident) $
       f------   AUTOS           f------   AUTOS
         X                         X       NON-OWNED                                                                                    PROPERTY DAMAGE                  $
       f------
                 HIRED AUTOS     f------   AUTOS                                                                                        (Per accident)
                                                                                                                                                                         $

         X                                 X
                                       H
 B               UMBRELLA LIAB                 OCCUR                   79854460                            3/31/2020        3/31/2021   EACH OCCURRENCE                  $ 15,000,000
       f------

                 EXCESS LIAB                   CLAIMS-MADE                                                                              AGGREGATE                        $ 15,000,000

               DED    I X RETENTION $ 0
                            I                                                                                                                                            $
 E       WORKERS COMPENSATION                                          UB1P094450                         11/16/2019       11/16/2020   X I TORY
                                                                                                                                             WC STATU-
                                                                                                                                                 LIMITS I
                                                                                                                                                                OTH-
                                                                                                                                                               I ER
         AND EMPLOYERS' LIABILITY         Y/N
         ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                               E.L. EACH ACCIDENT               $ 500,000

                                                       □
         OFFICER/MEMBER EXCLUDED?             N/A
         (Mandatory in NH)                                                                                                              E.L. DISEASE - EA EMPLOYEE $ 500,000
         If yes, describe under
         DESCRIPTION OF OPERATIONS below                                                                                                E.L. DISEASE - POLICY LIMIT      $ 500,000
 B      General Liability                                              35881709                            3/31/2020        3/31/2021   ea occ/agg                           $1M/2M
 C      XS Products                                                    ZUP-41N09361                        3/31/2020        3/31/2021   ea clm/agg                           $10M/10M
 A      2nd layer XS Products                                          EX20FL380002                        3/31/2020        3/31/2021   ea clm/agg                           $5M/5M



DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (Attach ACORD 101, Additional Remarks Schedule, if more space is required)
Independent Sales Representatives are covered by Products Liability only.

Privacy Breach Liability - $2,000,000, Beazley 3/31/20-3/31/21

Insured Subsidiaries: Exactech Taiwan R&D Co., Exactech (UK) Ltd., Exactech Canada, Exactech KK, Altiva Corporation, Exactech France, SAS, Exactech
Iberica, S.L.U.



CERTIFICATE HOLDER                                                                                CANCELLATION

                                                                                                    SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                                    THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                                    ACCORDANCE WITH THE POLICY PROVISIONS.
                      Vendormate
                      3445 Peachtree Rd. NE                                                       AUTHORIZED REPRESENTATIVE
                      Atlanta GA 30326


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